IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

TENNESSEE AT KNOXVILLE
OHIO NATIONAL LIFE ASSURANCE
CORPORATION,
Plaintiff,
v.

MICA M. EDENFIELD,
KARA L. EDENFIELD, and C.E., a minor
by his mother and

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) Case No. 3:12-CV~257
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natural guardian, Kara L. Edenfield, )
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Defendants.

COMPLAINT FOR INTERPLEADER

Comes the Plaintiff, Ohio `National Life Assurance Corporation (“ONLAC”), by and
through counsel, and hereby files this Complaint for lnterpleader. As a basis for its Complaint,
ONLAC states as follows:

I. PARTIES

l. ONLAC is a foreign corporation authorized to do business in the state of
Tennessee. ONLAC is incorporated and has its principal place of business in Ohio.

2. Defendant Mica M. Edenfield Was married to and is a survivor of James M.
Edenfield, deceased. Upon information and belief, Defendant Mica M. Edenfield is a citizen and
resident of Tennessee and can be served With process at 447 Mariner Point Drive, Clinton, TN
37716.

3. Defendant Kara L. Edenfield was previously married to and is a survivor of James
M. Edenfield, deceased. Upon information and belief, Defendant Kara L. Edenfield is a citizen

and resident of Tennessee and can be served vvith process at 4823 River Place Drive, Knoxville,

TN 37914.

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4. Defendant C.E. is a surviving child of Kara L. Edenfield and James M. Edenfield,
deceased. Upon information and belief, Defendant C.E. is a citizen and resident of Tennessee
and can be served with process through his mother and next friend, Kara L. Edenfield, at 4823
River Place Drive, Knoxville, TN 37914.

5. The life insurance policies at issue in this matter are as follows:

A. Policy No. 642()()88 issued by ONLAC on January l, 1999 to James M.
Edenfield as owner and insured in the amount of SSO0,000.00 with the current beneficiary
designated as Mica M. Edenfield. A copy of Policy No. 642()()88 is attached hereto as Exhibit
aA',,

B. Policy No. 6859566 issued by ONLAC on May 19, 2008 to First Choice,
lnc. and subsequently transferred to James M. Edenfield as owner and insured in the amount of
$50(),()()().()() with the current beneficiary designated as Mica M. Edenfield. A copy of Policy
No. 6859566 is attached hereto as Exhibit “B.”

6. Jarnes M. Edenfield, deceased, was insured under the policies, and at the time of
his death Mica M. Edenfield was designated as the beneficiary under the terms of Policy No.
642()()88 and Policy No. 6859566. Mr. Edenfield died on February 29, 2012. At the time of his
death, Mr. Edenfield was married to the Defendant in this matter, Mica M. Edenfield, and had
been previously married to the Defendant in this matter, Kara L. Edenfield. Defendant C.E. was
a child born of the marriage between Kara L. Edenfield and the decedent

II. JURISDICTION AND VENUE

7. This court has jurisdiction under 28 U.S.C. § ll32(a) because there is complete

diversity of citizenship between the parties, and the amount in controversy exceeds 375,000.()0,

exclusive of interest and costs.

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8. Venue is proper in this court pursuant to 28 U.S.C. § 1391 because the
Defendants reside in this district and a substantial part of the events giving rise to this action
occurred in this district.

III. CAUSES OF ACTION

9. This action is brought pursuant to 28 U.S.C. § 1335 and Rule 22 of the Federal
Rules of Civil Procedure. Pursuant to applicable law, ONLAC through this interpleader action
seeks to deposit with the court the insurance policy benefits payable under the subject policies as
a result of the death of James M. Edenfield.

10. This action is also brought pursuant to Rule 57 of the Federal Rules of Civil
Procedure and, pursuant to that Rule, ONLAC is requesting this court to declare the rights and
legal relations of all interested parties regarding the proceeds of the policies ONLAC avers that
the Defendants named in this Complaint are the only parties known to have a potential interest in
the insurance benefits and each of the Defendants have asserted competing claims to the
proceeds payable in accordance with the terms and provisions of the policies

IV. FACTS

11. On January 1, 1999, ONLAC issued life insurance Policy No. 6420088 to James
M. Edenfield. At the time the policy was issued, Jarnes M. Edenfield was married to Kara L.
Edenfield.

12. On May 19, 2008, ONLAC issued life insurance Policy. No. 6859566 to First
Choice, Inc. and, on January 28, 2010, ownership of the policy was changed to James M.
Edenfield. At the time the policy was issued, Defendant Mica M. Edenfield was married to the
insured decedent, James M. Edenfield.

13. Throughout the existence of the subject policies, the decedent exercised the right

to change the policies and beneficiaries to include the following changes:
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A. On Policy No. 6420088, Kara L. Edenfield was designated as beneficiary
at the time of issue; on July 26, 2000 the beneficiary was changed to C.E., and on February 1 1,
2002, Mica M. Edenfield was designated as the beneficiary

B. Initially, a policy was issued on March 7, 2002 as Policy No. 6618788 in
the amount of $250,000.00 to James M. Edenfield as owner/insured with Kara L. Edenfield, ex-
wife, as beneficiary On November 29, 2004, the beneficiary was changed to Mica M.
Edenfield, spouse. On May 19, 2008, Policy No. 6618788 was terminated and a new policy was
issued, being Policy No. 6859566 in the amount of $750,000.00 with First Choice, 1nc.
designated as owner and beneficiary On October 1, 2008, the Death Benefit was reduced to
$500,000.00 and, on January 28, 2010, the owner was changed to James M. Edenfield with Mica
M. Edenfield, spouse, designated as beneficiary

14. Following the death of James M. Edenfield, each of the Defendants made claims
for the aforesaid insurance death benefits under the subject policies Attached hereto as
Composite Exhibit “C” are copies of the demand presented by Defendants Kara L. Edenfield and
C.E. on May 11, 2012 and the demand presented by Mica M. Edenfield on May 16, 2012.

15. Due to the conflicting claims of the Defendants requesting payment of the death
benefits due and owing under the policies, ONLAC requests this court to allow the insurance
proceeds in the amount of $1,000,000.00 to be deposited into the registry of the court subject to
the judgment of the court as it relates to the distribution of the proceeds and thereby discharge
ONLAC from any further obligations under the terms and provisions of the subject policies

16. The confiicting claims presented by the Defendants may expose ONLAC to
double or multiple liability, thereby requiring ONLAC to interplead the insurance proceeds,

subject to the court’s approval, into the registry of the court.

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17. ONLAC disavows any interest in the death benefit of the policies and is prepared
to deposit with the registry of the court a check in the amount of $1,000.000.00 representing the
full amount of the proceeds due under the policies as a result of J ames M. Edenfield’s death.

WHEREFORE, ONLAC prays as follows:

A. That the court accept jurisdiction over this matter and declare the rights of the
Defendants and any other proper parties that may seek to recover the insurance benefits due and
owing under the policies;

B. That the court enter an Order allowing ONLAC to deposit with the registry of the
court a check in the amount of $1,000,000.00 together with applicable interest, such amount
representing full payment of the insurance benefits due and payable under the policies;

C. That, upon such deposit into the registry of the court, ONLAC be discharged from
all further liability with respect to the policies as a result of the death of James M. Edenfield
relating to the claims of the Defendants and any other proper parties that seek to recover the
insurance benefits under the policies;

D. That the court, in its discretion, award ONLAC’s reasonable attorneys’ fees and
expenses incurred in filing this action; and

E. That the court grant such further relief as it may deem just and proper.

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